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                  THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

DIGITAL VERIFICATION
SYSTEMS, LLC,
              Plaintiff,
       v.
                                               C.A. No.: 23-456-CFC
SYNCFUSION, INC.,

              Defendant.




        JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Digital Verification

Systems, LLC and Defendant SyncFusion, Inc. hereby stipulate to the dismissal of

all claims asserted in this action WITH PREJUDICE, with each party to bear its own

attorneys’ fees, costs and expenses.



Dated: June 21, 2023

 PHILLIPS MCLAUGHLIN & HALL,               SMITH ANDERSON
 P.A.

 /s/ Megan C. Haney                        /s/ Kelsey I. Nix
 John C. Phillips, Jr. (#110)              Kelsey Nix (pro hac vice forthcoming)
 Megan C. Haney (#5016)                    New York State Bar No. 2191633
 1200 North Broom Street                   SMITH, ANDERSON, BLOUNT,
 Wilmington, Delaware 19806                DORSETT, MITCHELL & JERNIGAN,
 (302) 655-4200                            LLP
 jcp@pmhdelaw.com                          Post Office Box 2611
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 mch@pmhdelaw.com                      Raleigh, North Carolina 27602-2611
                                       Telephone: (919) 821-1220
                                       knix@smithlaw.com
Attorneys for Plaintiff
                                      Attorneys for Defendant




     IT IS SO ORDERED this ___ day of June, 2023.



                            ______________________________________
                            The Honorable Colm F. Connolly
                            Chief Judge, United States District Court
